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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       No. 1:21-cr-00257-RDM
                                              :
RONNIE BRIAN PRESLEY,                         :
                                              :
                               Defendant.     :

                             PARTIES’ JOINT STATUS REPORT

       The United States of America, by and through the United States Attorney for the District

of Columbia, and defendant Ronnie Brian Presley, by and through his counsel of record, present

this joint status report, pursuant to the Court’s order issued from the bench on January 10, 2022.

       The defense has asked the government to extend the current plea offer, currently set to

expire today, to April 10, 2022. The government has agreed to this request.

       In addition, the government provided substantial additional discovery to the defense on

March 6, 2022.

       Counsel for the defendant has had difficulty in speaking with the defendant and

reviewing discovery with him. In addition, the defendant, who is detained, has asked counsel for

his own copy of discovery.

       Accordingly, both parties ask that the Court to set a new joint status report date for on or

about April 10, 2022. The parties further ask that the Court toll the Speedy Trial Act clock until

the new report date, because the ends of justice outweigh the best interest of the public and the

defendant in a speedy trial, due to the need for the defense to continue to consider the plea offer

and to review the new discovery.
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                                  Respectfully submitted,

      MATTHEW M. GRAVES                         Alfred Guillaume, III
      United States Attorney

by:   /s/Michael C. Liebman                     /s/Alfred Guillaume, III
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